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(W.D.T.X. Ref: 245H)(Rev. 01/05) - Judgement in a Criminal Case for a Petly Offense (Short Form)



                                                           UNITED STATES DISTRICT COURT                                              FILED
                                                                        WESTERN DISTRICT OF TEXAS                                Jul24 2019
                                                                            EL PASO DIVISION                                 Clerk, U.S. District Court
                                                                                                                             Western District of Texas

                                                                                                                                         CR
                                                                                                                        By: _ _ _ _ _ _ __
                                                                                                                                       Deputy

UNITED STATES OF AMERICA                                                                           §
                                                                                                   § CASE NUMBER: EP:19·M ·07441(1) ATB
vs.                                                                                                § USM Number:    ·3 n  "2'-f  <fro
                                                                                                   §
(1) BRENDA STEPHANIE ESCOBEDO-DELGADO                                                              §


                     Defendant.
                                                                         JUDGMENT IN A CRIMINAL CASE
                                                                         (For A Petty Offense)- Short Form

                     The defendant, Brenda Stephanie Escobedo-Delgado, was represented by counsel, Sergio Roldan.

              The defendant pled guilty to the complaint on July 24, 2019. Accordingly, the defendant is adjudged guilty of
the following offense(s) :

Title & Section                                       Nature of Offense                                                  Date of Offense

8 USC 1325(a)(1)                                      IMPROPER ENTRY BY AN ALIEN                                         July 23, 2019

             As pronounced on July 24, 2019, the defendant is hereby committed to the custody of the United States
Bureau of Prisons for a term of Time Served. The defendant shall remain in custody pending service of sentence.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to 18 U.S.C. §
3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                     Signed on this day, July 24, 2019.




                                                                                                   ANN .BERTON
                                                                                                   UNITED STATES MAGISTRATE JUDGE

              Executed:                        Dl--(ul~--o,t~
              By:                                                    :£'~                   .
              United States Marshal Servtce
